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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA


Steven Verba,

       Plaintiff,                                  Case No. 0:16-cv-03308

v.                                                 Hon. Susan Richard Nelson

KONE INC.,                                         Magistrate Katherine M. Menendez

       Defendant.


Nicholas G.B. May (0287106)                        Kristina Kaluza (#0390899)
Emma R Denny (#395334)                             DYKEMA GOSSETT PLLC
Fabian May & Anderson, PLLP                        4000 Wells Fargo Center
825 Nicollet Mall, Suite 1625                      90 South Seventh Street
Minneapolis, MN 55402                              Minneapolis, MN 55402
(612) 353-3340                                     (612) 486-1900
nmay@fmalawyers.com                                kkaluza@dykema.com
edenny@fmalawyers.com
                                                   Stephen S. Muhich (admitted pro hac vice)
Attorneys for Plaintiff                            Elisa J. Lintemuth (admitted pro hac vice)
                                                   DYKEMA GOSSETT PLLC
                                                   300 Ottawa Ave., N.W., Suite 700
                                                   Grand Rapids, MI 49503
                                                   (616) 776-7543
                                                   smuhich@dykema.com
                                                   elintemuth@dykema.com

                                                   Attorneys for Defendant


                               DEFENDANT KONE INC.’S
                          CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Defendant KONE Inc. (“KONE”) makes the following

disclosure:

1.     Is said corporate party a subsidiary or affiliate of a publicly owned corporation?

         X      YES           _____ NO




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      KONE is owned entirely by KONE Holdings Inc. (Delaware) which is owned by
      Finescal Oy (Finland) which is owned by KONE Corporation (Finland).


2.    Is there a publicly owned corporation or its affiliate, not a party to the case, that has a
      substantial financial interest in the outcome of the litigation?

      __X__ YES                  NO

      If the answer is yes, list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party.

      KONE is owned entirely by KONE Holdings Inc. (Delaware) which is owned by
      Finescal Oy (Finland) which is owned by KONE Corporation (Finland).




Dated: October 21, 2016                      /s/ Elisa J. Lintemuth
                                             Elisa J. Lintemuth (admitted pro hac vice)
                                             DYKEMA GOSSETT PLLC
                                             Attorneys for Defendant KONE Inc.
                                             300 Ottawa Ave. NW, Suite 700
                                             Grand Rapids, MI 49503
                                             Telephone: (616) 776-7500
                                             elintemuth@dykema.com




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